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                                                 August 4, 2022



By ECF
The Honorable Mary Kay Vyskocil
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007


           Re:       Broidy et al. v. Global Risk Advisors, et al., 19 Civ. 11861 (MKV)

Dear Judge Vyskocil:

        We write on behalf of Defendants in response to Plaintiffs’ August 1, 2022 letter (ECF
138, “Plaintiffs’ Letter”), which seeks inter alia the Court’s permission to seek discovery from
Gibson, Dunn & Crutcher LLP, Defendants’ former counsel in this action. We understand that
Gibson Dunn will submit its own response objecting to the entirety of Plaintiffs’ request. The
proposed discovery should be denied as it comes during a court-imposed discovery stay, seems
designed to sidetrack rather than advance the litigation even absent a stay, and raises attorney-
client privilege and attorney work product concerns.

        Plaintiffs request discovery purportedly to determine “the full scope of any advantage
obtained by Defendants as a result of Ms. Ahmad’s work at the OSC.” It is unclear what
“advantages” Plaintiffs have in mind as they did not identify a single one. However, given the
nature of the proposed discoverye.g., communications from Defendants’ former counselit is
conceivable that it will implicate issues of attorney-client privilege and/or work-product.
Plaintiffs make no representation in their August 1 letter that they intend to exclude any such
materials from the proposed discovery. Plaintiffs have offered the Court no basis to permit them
to intrude into the sanctity of attorney-client communications, or invade attorney work-product.
See, e.g., In re Dow Corning Corp., 261 F.3d 280, 284 (2d Cir. 2001) (“[C]ompelled disclosure
of privileged attorney-client communications, absent waiver or an applicable exception, is
contrary to well established precedent.”); In re Terrorist Attacks on Sept. 11, 2001, 293 F.R.D.
539, 543 (S.D.N.Y. 2013) (a party must establish a “substantial need” for work-product); see
also Finkel v. Zizza & Assocs. Corp., No. 12-CV-4108 (JS) (ARL), 2021 WL 1375655, at *3
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(E.D.N.Y. Apr. 12, 2021) (the “not negligible” risk that privilege issues would arise weighed
against permitting the requesting party to call opposing counsel as a trial witness).

        Accordingly, Defendants respectfully request that the Court deny Plaintiffs’ discovery
request, or, alternatively, to the extent the Court permits Plaintiffs to conduct any of their
requested discovery, that the Court clearly limit that discovery to material outside of the purview
of attorney-client communications and attorney work product.


                                                 Respectfully submitted,



                                                 /s/ Marc A. Weinstein
                                                 Marc A. Weinstein



 Cc: All counsel of Record (via ECF)




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